USCA4 Appeal: 07-4115   Doc: 51   Filed: 04/25/2007   Pg: 1 of 2




                                    Document 1
USCA4 Appeal: 07-4115            Doc: 51             Filed: 04/25/2007             Pg: 2 of 2


                                      UNITED STATES COURT OF APPEALS
                                                     FOR THE FOURTH CIRCUIT
                                           Lewis F. Powell, Jr. United States Courthouse Annex
                                                     1100 E. Main Street, Suite 501
                                                    Richmond, Virginia 23219-3517

    Patricia S. Connor                                   www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                 (804) 916-2700




                                                   April 25, 2007

                                           NOTICE OF RULES VIOLATION
                                           *************************


              Alan Dexter Bowman, Esq.
              Suite 105
              Gateway One
              Newark, NJ 07102




                         Re:   07-4062 US v. Lanora N. Ali
                                     8:04-cr-00235-RWT



              Dear Counsel:

                   You were directed by the docketing letter to file
              a docketing statement and you have not done so. You must file
              your docketing statement no later than 5/10/07. If you do
              not file the document or otherwise cure the default, the clerk
              will recommend to the Court that you be ordered to show cause
              why discipline should not be imposed for failure to comply
              with federal and local rules of procedure and the Court's
              orders and instructions.




                                                                 Yours truly,

                                                                 PATRICIA S. CONNOR
                                                                       Clerk


                                                                   /s/ Sharon A. Wiley
                                                                 By: ________________________
                                                                      Deputy Clerk


              cc:        Deborah A. Johnston
                         Bonnie S. Greenberg
